   Case 1:07-cr-00187-WMS-HKS          Document 347      Filed 08/05/09    Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

          v.                                                     DECISION AND ORDER
                                                                      07-CR-187-4
ISRAEL CONCEPCION

                            Defendant.


          1.   On June 18 2009, the Defendant entered into a written plea agreement

(Docket No. 330) and pled guilty to Count 1 of the Superseding Indictment (Docket No.

103) charging a violation of Title 21, U.S.C. Section 846 (Conspiracy to Distribute and to

Possess With Intent to Distribute 1 Kilogram or More of Heroin).

          2.   On June 18, 2009, the Honorable H. Kenneth Schroeder, Jr., United

States Magistrate Judge, filed a Report and Recommendation (Docket No. 332)

recommending that Defendant’s plea of guilty be accepted and the Defendant adjudicated

guilty.

          3.   This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1)(C) and Local Rule 58.2(a)(3).

          4.   This Court has carefully reviewed de novo Judge Schroeder’s June 18, 2009,

Report and Recommendation, the plea agreement, transcript of the proceeding, and the

applicable law. Upon due consideration, this Court finds no legal or factual error in Judge

Schroeder’s Report and Recommendation, and will accept Judge Schroeder’s

recommendation that Defendant’s plea of guilty be accepted and that the Defendant be

adjudicated guilty as charged.
   Case 1:07-cr-00187-WMS-HKS         Document 347      Filed 08/05/09   Page 2 of 2




      IT HEREBY IS ORDERED, that this Court accepts Judge Schroeder’s June 18,

2009, Report and Recommendation (Docket No. 332) in its entirety, including the

authorities cited and the reasons given therein.

      FURTHER, that the plea of guilty of Defendant Israel Concepcion is accepted, and

he is now adjudged guilty of Title 21, U.S.C. Section 846.

      SO ORDERED.


Dated: August 5 , 2009
       Buffalo, New York


                                                       /s/William M. Skretny
                                                       WILLIAM M. SKRETNY
                                                     United States District Judge




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